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UNITED STATES DISTRICT COURT [
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION _|/

UNITED STATES OF AMERICA,

 

Criminal No. 19-20836

Vv.
Hon. Mark A. Goldsmith

D-3 JEFFREY BAUM,

Defendant.

 

DEFENDANT’S ACKNOWLEDGMENT OF INDICTMENT

 

I, JEFFREY BAUM, Defendant in this case, hereby acknowledge that I have .
received a copy of the Indictment before entering my plea, and that I have read it
and understand its contents.

I know that if I am convicted or plead guilty, I may be sentenced as follows:

As to Count One:

_ Conspiracy to Commit Bribery Concerning Programs Receiving

Federal Funds

18 U.S.C. §§ 371 and 666(a)

Five years imprisonment, a $250,000 fine, or both

As to Counts Sixteen through Thirty-Three:

Wire Fraud
18 U.S.C. § 1343

As to each count, twenty years imprisonment, a $250,000 fine, or both

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I also understand that the court may impose consecutive sentences if I am.

/

convicted of more than one count.

 

 

Defendant

ACKNOWLEDGMENT OF DEFENSE COUNSEL
I acknowledge that I am counsel for Defendant and that I have received a copy
of the Standing Order for Discovery and Inspection which requires all prectral |
_ motions to be filed within twenty (20) days of arraignment.
MICHAEL A. RATAJ (P43004)

Counsel for Defendant

Dated: December 23 -, 2019
